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                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

Mikey D. Loniello Jr.,                                )
                                                      )
                         Plaintiff,                   )
                                                      )
               vs.                                    )     No. 15 CV 7832
                                                      )
DR. SALEH OBAISI,                                     )     Honorable Sharon Johnson Coleman
WEXFORD HEALTH SOURCES, INC.,                         )
WARDEN TARRY WILLIAMS, ASSISTANT                      )     JURY TRIAL DEMANDED
WARDEN LAMB; and OFFICER JACKSON,                     )
                  Defendants.                         )

                               DEFENDANT DR. OBAISI’S
                          ANSWER AND AFFIRMATIVE DEFENSES

       Defendant, Dr. Saleh Obaisi, by his counsel, Cunningham, Meyer & Vedrine, P.C., and

for his Answer to Plaintiff’s Second Complaint at Law, states as follows:

                                      JURISDICTION AND VENUE

       1.      This action is brought pursuant to the United States Constitution and 42 U.S.C.

§1983 and §1988 (the Civil Rights Act of 1871) to redress deprivations of the civil rights of the

Plaintiff, accomplished by acts and/or omissions of the Defendants and committed under color of

law.

      ANSWER: Admit that Plaintiff has brought this action pursuant to Section 1983
and Section 1988. Deny all remaining allegations.

       2.      This Court has jurisdiction pursuant to 28 U.S.C. §1343 and §1331.

        ANSWER: Admit, but deny that Defendant has violated Plaintiff’s constitutional
rights or that Defendant is liable to Plaintiff whatsoever.

       3.      Venue is proper in this judicial district pursuant to 28 U.S.C. §1391, as the acts

complained of took place in this district.




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      ANSWER: Admit that this Court has venue to hear Plaintiff’s purported claims.
Deny all remaining allegations.

       4.      Mickey Loniello Jr., Plaintiff, was confined, at all times relevant in this

Complaint, at Stateville Correctional Center, an Illinois Department of Corrections facility.

       ANSWER: Admit that Plaintiff was, at times, incarcerated at Stateville Correctional
Center and that Stateville Correctional Center is an IDOC facility. Defendant does not
have sufficient information to admit or deny the remaining allegations contained in this
paragraph, but denies them to the extent that they are inconsistent with Plaintiff’s medical
or prison records, and deny that he is liable to Plaintiff whatsoever.

       5.      Defendant, Dr. Saleh Obaisi, oversaw the care of Mr. Loniello as the Medical

Director at Stateville Correctional Center (“Stateville”). Dr. Obaisi is an employee of Defendant

Wexford Health Sources, Inc., and is sued in his individual capacity. At the time of the incidents

at issue in this Complaint, Dr. Obaisi was engaged in the conduct complained of while acting

within the scope of his employment and under color of law.

        ANSWER: Admit that Dr. Obaisi is an employee of Wexford and is sued in his
individual capacity. Further admit that Dr. Obaisi is the current Medical Director at
Stateville Correctional Center. Deny that the allegations represent an accurate or complete
description of the duties and responsibilities of Dr. Obaisi generally or as to Plaintiff
specifically, and deny all remaining allegations.

       6.      Defendant Wexford Health Source, Inc. (“Wexford”) is a Pennsylvania

corporation that provides healthcare professionals and services to correctional facilities,

including Stateville (and other Illinois correctional centers). Wexford was the provider of

healthcare to the Plaintiff, Mr. Loniello, at Stateville at all times relevant. Wexford employs Dr.

Obaisi as the Medical Director of Stateville.

      ANSWER: Defendant admits that Wexford has its headquarters in Pennsylvania
and that provides certain healthcare services to IDOC and Stateville Correctional Center
pursuant to contract. Defendant denies that the allegations represent an accurate and
complete description of the duties and responsibilities of Wexford Health Sources, Inc.,
under the aforementioned contract or with respect to Plaintiff. Defendant admits that he is
employed by Wexford Health Sources, and that he is the Medical Director of Stateville
Correctional Center. Deny all remaining allegations.



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       7.      Defendant Warden Tarry Williams was, at all times relevant, the Warden of

Stateville. Warden Williams is sued in his individual and official capacities. At the time of the

incidents at issue in this Complaint, Dr. Obaisi was engaged in the conduct complained of while

acting within the scope of his employment and under color of law.

       ANSWER: Admit that Warden Williams is sued in his individual and official
capacities. With the assumption that “Dr. Obaisi” is a misnomer for Warden Williams in
this paragraph, Defendant does not have sufficient information to admit or deny the
remaining allegations in this paragraph.

       8.      Defendant Assistant Warden Lamb was, at all times relevant, an Assistant

Warden of Stateville. Warden Lamb is sued in his individual capacity. At the time of the

incidents at issue in this Complaint, Warden Lamb was engaged in the conduct complained of

while acting within the scope of his employment and under color of law.

        ANSWER: Admit that Warden Lamb is sued in his individual capacity.
Defendant does not have sufficient information to admit or deny the remaining allegations
in this paragraph.

       9.      Defendant Officer Jackson was, at all times relevant, a correctional officer at

Stateville. Officer Jackson can be identified based on the fact that she worked in proximity to the

Plaintiff, at the times complained of, on the 7:00 a.m. to 3:00 p.m. shift. Officer Jackson is sued

in her individual capacity. At the time of the incidents at issue in this Complaint, Officer Jackson

was engaged in the conduct complained of while acting within the scope of her employment and

under color of law.

        ANSWER: Admit that Officer Jackson is sued in her individual capacity.
Defendant does not have sufficient information to admit or deny the remaining allegations
in this paragraph.

       10. All five Defendants — individually and collectively — caused the Plaintiff to lose

vision in his right eye, pursuant to these allegations.

       ANSWER:         Deny.



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                                    FACTUAL ALLEGATIONS

       11.    On May 19, 2015, Mr. Loniello was incarcerated at Stateville.

      ANSWER: Admit that Mr. Loniello was incarcerated at Stateville Northern
Reception and Classification Center on May 19, 2015. Deny all remaining allegations.

       12.    That day, Mr. Loniello was provided with dirty and wet bedding supplies. Mr.

Loniello asked a correctional officer for adequate bedding supplies; the officer denied this

request.

        ANSWER: Defendant does not have sufficient information to admit or deny the
allegations contained in this paragraph, but denies them to the extent that they are
inconsistent with Plaintiff’s medical or prison records, and deny that they are liable to
Plaintiff whatsoever.

       13.    The next morning, on May 20, 2015, Mr. Loniello awoke with his right eye

irritated. Mr. Loniello asked Officer Jackson for medical care. Officer Jackson denied his

request. Later that night, Mr. Loniello informed a female nurse, who was distributing

medications, that there was a serious problem with his right eye. The nurse refused to arrange

medical care for Mr. Loniello.

        ANSWER: Defendant does not have sufficient information to admit or deny the
allegations contained in this paragraph, but denies them to the extent that they are
inconsistent with Plaintiff’s medical or prison records, and denies that he is liable to
Plaintiff whatsoever.

       14.    For three days the Plaintiff asked nearly every officer and nurse he saw for

medical attention. Those requests were denied.

        ANSWER: Defendant does not have sufficient information to admit or deny the
allegations contained in this paragraph, but denies them to the extent that they are
inconsistent with Plaintiff’s medical or prison records, and denies that he is liable to
Plaintiff whatsoever.

       15.    During this time, both of Mr. Loniello’s eyes were swollen shut.

        ANSWER: Defendant does not have sufficient information to admit or deny the
allegations contained in this paragraph, but denies them to the extent that they are
inconsistent with Plaintiff’s medical or prison records, and denies that he is liable to
Plaintiff whatsoever.

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        16.    On May 23, 2015, in the night, a nurse escorted Plaintiff to Stateville’s health care

unit. A different nurse examined Mr. Loniello’s eye using an officer’s flashlight.

        ANSWER: Defendant does not have sufficient information to admit or deny the
allegations contained in this paragraph, but denies them to the extent that they are
inconsistent with Plaintiff’s medical or prison records, and denies that he is liable to
Plaintiff whatsoever.

17.     That examining nurse then called Dr. Obaisi by telephone in Mr. Loniello’s presence.

The nurse described Mr. Loniello’s eye condition to Dr. Obaisi. After the call ended the same

nurse informed Mr. Loniello that Dr. Obaisi ordered him to be transferred to St. Joseph Medical

Center in Joliet (“St. Joseph”), due to the severity of his eye problem.

        ANSWER:        Deny.

18.     Warden Williams approved Mr. Loniello’s transfer to St. Joseph.

        ANSWER: Defendant does not have sufficient information to admit or deny the
allegations contained in this paragraph, but denies them to the extent that they are
inconsistent with Plaintiff’s medical or prison records, and denies that he is liable to
Plaintiff whatsoever.

19.      During an overnight stay, St. Joseph medical personnel diagnosed Mr. Loniello with a

serious eye infection. However, St. Joseph medical professionals did not have the

ophthalmological expertise to treat Mr. Loniello.

        ANSWER: Defendant does not have sufficient information to admit or deny the
allegations contained in this paragraph, but denies them to the extent that they are
inconsistent with Plaintiff’s medical or prison records, and denies that he is liable to
Plaintiff whatsoever.

20.     On May 24, 2015, St. Joseph medical professionals discharged Plaintiff back to Stateville

and informed Dr. Obaisi and others that St. Joseph was not able to treat Mr. Loniello’s eye

issues. St. Joseph informed Dr. Obaisi and others that Plaintiff needed immediate

ophthalmological treatment.

       ANSWER: Admit that St. Joseph discharged Plaintiff on May 24, 2015. Deny that
St. Joseph informed Dr. Obaisi of issues or treatment. Defendant does not have sufficient

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information to admit or deny the remaining allegations contained in this paragraph, but
denies them to the extent that they are inconsistent with Plaintiff’s medical or prison
records, and denies that he is liable to Plaintiff whatsoever.

21.     From Ma[]y 24 through May 26, 2015, Dr. Obaisi and Warden Williams failed to secure

the immediate ophthalmological treatment ordered by St. Joseph for Mr. Loniello. During this

time period, Plaintiff complained in person to Assistant Warden Lamb about the denial of

medical care for his eyes. Warden Lamb did not arrange for Mr. Loniello to obtain medical care.

        ANSWER: Deny these allegations to the extent they pertain to Dr. Obaisi.
Defendant does not have sufficient information to admit or deny the remaining allegations
contained in this paragraph, but denies them to the extent that they are inconsistent with
Plaintiff’s medical or prison records, and denies that he is liable to Plaintiff whatsoever.

22.     On May 26, 2015, a health care provider at Stateville informed Dr. Obaisi that Mr.

Loniello must be taken to a hospital for immediate ophthalmologic care. In response, Dr. Obaisi

arranged for Plaintiff to be transported to St. Joseph– even though it was now known to Dr.

Obaisi and Warden Williams that St. Joseph did not have the proper ophthalmological medical

care providers for Mr. Loniello’s medical needs. Soon after arriving at St. Joseph Mr. Loniello

was transferred to University of Illinois at Chicago’s eye clinic (“UIC”).

        ANSWER: Deny these allegations to the extent that they pertain to Dr. Obaisi.
Defendant does not have sufficient information to admit or deny the remaining allegations
contained in this paragraph, but denies them to the extent that they are inconsistent with
Plaintiff’s medical or prison records, and denies that he is liable to Plaintiff whatsoever.

23.      On May 28, 2015, UIC medical personnel discharged Plaintiff. Upon discharge UIC

medical personnel handed the Stateville correctional officers (who were escorting Mr. Loniello

to and from the hospital) prescriptions for medications for Plaintiff’s eye. Those officers later

handed the prescriptions to a nurse at Stateville.

        ANSWER: Defendant does not have sufficient information to admit or deny the
allegations contained in this paragraph, but denies them to the extent that they are
inconsistent with Plaintiff’s medical or prison records, and denies that he is liable to
Plaintiff whatsoever.



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24.       However, for several days in early June, Dr. Obaisi did not provide Plaintiff with his

prescribed medications.

          ANSWER:       Deny all allegations and predicate allegations.

25.       On June 1, 2015, during this time period without eye medications, Mr. Loniello informed

one of Dr. Obaisi’s nurses that he did not have his medications.

        ANSWER: Defendant denies Plaintiff’s characterization that he informed “one of
Dr. Obaisi’s nurses.” Defendant does not have sufficient information to admit or deny the
remaining allegations contained in this paragraph, but denies them to the extent that they
are inconsistent with Plaintiff’s medical or prison records, and denies that he is liable to
Plaintiff whatsoever.

26.       On or about June 5, 2015, Mr. Loniello was transported from Stateville to the UIC eye

clinic.

        ANSWER: Admit that Loniello was transported from Stateville NRC to the UIC
eye clinic on June 5, 2015. Deny all remaining allegations and deny that Defendant is liable
to Plaintiff whatsoever.

27.       A doctor at UIC informed Mr. Loniello that since he was not receiving his medications at

Stateville he was going to “lose” his right eye. The doctor wrote additional prescriptions for the

Plaintiff and handed them to the Stateville officers escorting Plaintiff.

        ANSWER: Defendant does not have sufficient information to admit or deny the
allegations contained in this paragraph, but denies them to the extent that they are
inconsistent with Plaintiff’s medical or prison records, and denies that he is liable to
Plaintiff whatsoever.

28.       Later, UIC medical personnel informed Mr. Loniello that he needed a cornea transplant.

        ANSWER: Defendant does not have sufficient information to admit or deny the
allegations contained in this paragraph, but denies them to the extent that they are
inconsistent with Plaintiff’s medical or prison records, and denies that he is liable to
Plaintiff whatsoever.

29.       Dr. Obaisi did not act in a proper manner to ensure that Mr. Loniello obtained the

transplant.

          ANSWER: Deny.


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30.     Mr. Loniello filed several grievances and medical request slips with Warden Williams

and Dr. Obaisi complaining of, and seeking, medical care.

        A ANSWER: Defendant does not have sufficient information to admit or deny the
allegations contained in this paragraph, but denies them to the extent that they are
inconsistent with Plaintiff’s medical or prison records, and denies that he is liable to
Plaintiff whatsoever.

31.     Mr. Loniello currently is unable to see out of his right eye.

        ANSWER: Defendant does not have sufficient information to admit or deny the
allegations contained in this paragraph, but denies them to the extent that they are
inconsistent with Plaintiff’s medical or prison records, and denies that he is liable to
Plaintiff whatsoever.

32.      It is in this and other manners by which Dr. Obaisi, Wexford, Warden Williams,

Assistant Warden Lamb, and Officer Jackson caused the Plaintiff to lose vision in his right eye

and to suffer related damages.

      ANSWER: Defendant denies all allegations and predicate allegations in this
paragraph to the extent that this paragraph relates to him.

                                             COUNT I

                            VIOLATION OF 42 U.S.C. 1983:
                      DENIAL OF TIMELY MEDICAL TREATMENT
                            AGAINST DR. SALEH OBAISI

33.     Plaintiff re-alleges Paragraphs 1 through 32 as if fully set forth herein.

        ANSWER: Defendant incorporates his answers to Paragraphs 1 through 32 as if
        fully set forth herein.

34.     Dr. Obaisi knew that Plaintiff required immediate and ongoing medical services for his

right eye infection, yet Dr. Obaisi denied Plaintiff those services.

        ANSWER:        Deny.

35.     Dr. Obaisi acted with deliberate indifference by failing to properly treat Mr. Loniello for

his eye infection.

        ANSWER:        Deny.


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36.       By failing to properly treat Mr. Loniello, Dr. Obaisi acted willfully, deliberately,

maliciously, or with reckless disregard for Mr. Loniello’s clearly established constitutional

rights.

          ANSWER:        Deny.

37.       As a direct and proximate result of the acts and omissions of Dr. Obaisi, Plaintiff was

denied timely treatment and suffered significant injury and damages.

          ANSWER:        Deny.

38.       As a direct and proximate result of the acts and omissions of Dr. Obaisi, Plaintiff was

denied adequate treatment and suffered significant injury and damages.

          ANSWER:        Deny.

          WHEREFORE, Defendant, Saleh Obaisi, requests that this Honorable Court award him

judgment and against Plaintiff, award Defendant his costs, and provide such other and further

relief that this Court deems just.

                                     COUNT II
                             VIOLATION OF 42 U.S.C. 1983:
                       DENIAL OF TIMELY MEDICAL TREATMENT
                         AGAINST WARDEN TARRY WILLIAMS

        As Count II does not pertain to the answering Defendant, Defendant makes no specific
response thereto. To the extent that a response is required, Defendant denies any and all
allegations pertaining to him, denies that Defendant is in any respect liable to Plaintiff, and
denies that Plaintiff is entitled to any relief from him.

                                     COUNT III
                             VIOLATION OF 42 U.S.C. 1983:
                       DENIAL OF TIMELY MEDICAL TREATMENT
                              AGAINST WARDEN LAMB

        As Count III does not pertain to the answering Defendant, Defendant makes no specific
response thereto. To the extent that a response is required, Defendant denies any and all
allegations pertaining to him, denies that Defendant is in any respect liable to Plaintiff, and
denies that Plaintiff is entitled to any relief from him.




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                                   COUNT IV
                           VIOLATION OF 42 U.S.C. 1983:
                     DENIAL OF TIMELY MEDICAL TREATMENT
                           AGAINST OFFICER JACKSON

        As Count IV does not pertain to the answering Defendant, Defendant makes no specific
response thereto. To the extent that a response is required, Defendant denies any and all
allegations pertaining to him, denies that Defendant is in any respect liable to Plaintiff, and
denies that Plaintiff is entitled to any relief from him.

                              COUNT V
                     VIOLATION OF 42 U.S.C. 1983:
              MONELL POLICY, CUSTOM & PRACTICE CLAIM
      FAILURE TO ADEQUATELY TREAT PRISONERS WITH EYE DISEASES
               AGAINST WEXFORD HEALTH SOURCES, INC.

        As Count IV does not pertain to the answering Defendant, Defendant makes no specific
response thereto. To the extent that a response is required, Defendant denies any and all
allegations pertaining to him, denies that Defendant is in any respect liable to Plaintiff, and
denies that Plaintiff is entitled to any relief from him.

                                     COUNT VI
                           WILLFUL AND WANTON CONDUCT
                             AGAINST ALL DEFENDANTS

       As Defendant is concurrently filing a motion to dismiss with respect to Count VI, no
response is made hereto.


                                     GENERAL DENIAL

       Defendant denies each and every allegation explicitly or implicitly asserted by Plaintiff,

except those which have been specifically been admitted in this Answer.

                                 AFFIRMATIVE DEFENSES

                             FIRST AFFIRMATIVE DEFENSE
                        (Failure to Exhaust Administrative Remedies)

       To the extent that the Plaintiff has failed to exhaust his administrative remedies prior to

the initiation of this cause of action, Plaintiff’s claims are limited or barred by the Prison

Litigation Reform Act (42 U.S.C. § 1997).




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                            SECOND AFFIRMATIVE DEFENSE
                                (Mitigation of Damages)

        Plaintiff had a duty to mitigate his claimed damages. Accordingly, to the extent Plaintiff

could have prevented any injury by taking reasonable actions under the circumstances he should

be precluded from recovering damages for that injury.

                                        Prayer for Relief

        WHEREFORE, Defendant requests that this Honorable Court dismiss Plaintiff’s

complaint with prejudice, allows Defendant to recover his reasonable attorney’s fees and costs of

suit, and provide such other and further relief as this Court may deem necessary and just.

                                         Jury Demand
        Pursuant to Fed. R. Civ. P. 38(b), Defendant hereby demands a trial by a jury on all

issues so triable.

                                             Respectfully submitted,
                                             CUNNINGHAM, MEYER & VEDRINE, P.C.

                                             By: /s/ Chad M. Skarpiak
                                                    One of the Attorneys for Defendant
Michael R. Slovis
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                                       Certificate of Service
The undersigned attorney hereby certifies that on March 17, 2017, he electronically filed the
foregoing document with the Clerk of the Court using the CM/ECF system, which will send
notification of such filing to counsel of record.

                                             /s/ Chad M. Skarpiak




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